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                        Exhibit 2-3

        Class 7 Common Stock Interests Master Ballot
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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                             Chapter 11
Lordstown Motors Corp., et al., 1                                 Case No. 23-10831 (MFW)
                                            Debtors.              (Jointly Administered)




    MASTER BALLOT FOR VOTING TO ACCEPT OR REJECT THE MODIFIED FIRST
       AMENDED JOINT CHAPTER 11 PLAN OF LORDSTOWN MOTORS CORP.
                       AND ITS DEBTOR AFFILIATES

                             CLASS 7 – COMMON STOCK INTERESTS

PLEASE CAREFULLY READ THE ENCLOSED INSTRUCTIONS FOR COMPLETING
THIS MASTER BALLOT BEFORE COMPLETING THIS MASTER BALLOT.

THIS MASTER BALLOT MUST BE COMPLETED, EXECUTED AND RETURNED BY
NOMINEES OF BENEFICIAL HOLDERS (EACH AS DEFINED BELOW) SO THAT IT
IS ACTUALLY RECEIVED BY THE DEBTORS’ SOLICITATION AGENT ON OR
BEFORE DECEMBER 12, 2023 AT 5:00 P.M. (PREVAILING EASTERN TIME) (THE
“VOTING DEADLINE”).   IF THIS MASTER BALLOT IS NOT PROPERLY
COMPLETED, SIGNED AND RECEIVED BY THE SOLICITATION AGENT ON OR
BEFORE THE VOTING DEADLINE, THEN THE VOTES TRANSMITTED BY THIS
MASTER BALLOT WILL NOT BE COUNTED.

ACCESS TO SOLICITATION MATERIALS:

THE PLAN, DISCLOSURE STATEMENT, AND DISCLOSURE STATEMENT ORDER,
INCLUDING THE ATTACHED SOLICITATION PROCEDURES AND OTHER
EXHIBITS,    MAY   BE    ACCESSED,    FREE   OF    CHARGE   AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN      BY   CLICKING   ON   THE
“SOLICITATION MATERIALS” TAB ON THE HOME PAGE.

YOU CAN ALSO REQUEST, FREE OF CHARGE, COPIES IN PAPER OR FLASH
DRIVE FORMAT OF ANY SOLICITATION PACKAGE MATERIALS BY (A)
CALLING THE DEBTORS’ TOLL-FREE RESTRUCTURING HOTLINE AT (877) 499-
4509(U.S./CANADA) OR (917) 281-4800(INTERNATIONAL); (B) VISITING THE

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     The Debtors and the last four digits of their respective taxpayer identification numbers are: Lordstown Motors
     Corp. (3239); Lordstown EV Corporation (2250); and Lordstown EV Sales LLC (9101). The Debtors’ service
     address is 27000 Hills Tech Ct., Farmington Hills, MI 48331.
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DEBTORS’           RESTRUCTURING          WEBSITE          AT
HTTPS://WWW.KCCLLC.NET/LORDSTOWN; (C) WRITING TO LORDSTOWN
PROCESSING CENTER, C/O KURTZMAN CARSON CONSULTANTS LLC, 222 N.
PACIFIC COAST HIGHWAY, SUITE 300, EL SEGUNDO, CA 90245, OR (D)
EMAILING LORDSTOWNBALLOTS@KCCLLC.COM (WITH ‘LORDSTOWN’ IN
THE SUBJECT LINE). AS SOON AS REASONABLY PRACTICABLE AFTER
RECEIVING SUCH A REQUEST, THE SOLICITATION AGENT WILL PROVIDE
YOU WITH THE COPIES YOU REQUESTED.

IF A BENEFICIAL HOLDER (AS DEFINED BELOW) VOTES TO ACCEPT THE
PLAN, THE BENEFICIAL HOLDER WILL BE RELEASING THE RELEASED
PARTIES FROM ANY AND ALL CLAIMS/CAUSES OF ACTION TO THE EXTENT
PROVIDED IN ARTICLE VIII.D OF THE PLAN AND WILL BE IRREVOCABLY
BOUND BY SUCH RELEASES. IF A BENEFICIAL HOLDER VOTES TO REJECT
THE PLAN, SUCH BENEFICIAL HOLDER MAY OPT IN TO SUCH RELEASES AND
YOU MUST INDICATE SUCH OPT IN WITH RESPECT TO EACH BENEFICIAL
HOLDER IN YOUR EXHIBIT TO THE MASTER BALLOT. IF A BENEFICIAL
HOLDER DOES NOT RETURN THE BALLOT OR ABSTAINS FROM VOTING, SUCH
HOLDER WILL NOT BE BOUND BY THE RELEASES.


        The above-captioned debtors and debtors in possession (collectively, the “Debtors”)
have sent this master ballot (the “Master Ballot”) to you because our records indicate that you
are a bank, broker, or other intermediary (each, a “Nominee”), or the proxy holder of a beneficial
holder (a “Beneficial Holder”) of Class 7 Common Stock Interests in the Debtors as of October
31, 2023 (the “Voting Record Date”). As such, the Beneficial Holders that you represent have a
right to vote to accept or reject the Modified First Amended Joint Chapter 11 Plan of Lordstown
Motors Corp. and Its Affiliated Debtors, filed on [●], 2023 [D.I. [●]] (together with all schedules
and exhibits thereto, and as may be amended, modified, or supplemented from time to time, the
“Plan”). 2

        The rights of the Beneficial Holders are described in the Debtors’ Disclosure Statement
Pursuant to 11 U.S.C. § 1125 with Respect to Modified First Amended Joint Chapter 11 Plan of
Lordstown Motors Corp. and Its Affiliated Debtors, filed on [●], 2023 [D.I. [●]] (together with
all schedules and exhibits thereto, and as may be modified, amended, or supplemented from time
to time, the “Disclosure Statement”). On [●], 2023, the United States Bankruptcy Court for the
District of Delaware (the “Bankruptcy Court”) entered an order (the “Disclosure Statement
Order”) approving (i) the Disclosure Statement as containing adequate information under
section 1125 of the Bankruptcy Code and (ii) the procedures for soliciting votes to accept or
reject the Plan (the “Solicitation Procedures”). Bankruptcy Court approval of the Disclosure
Statement does not indicate approval of the Plan by the Bankruptcy Court. This Master Ballot
is to be used by you as Nominee or as proxy holder to tabulate votes solicited from Holders
of Class 7 Common Stock Interests in the Debtors; it is not to be used by individual
Beneficial Holders. This Master Ballot may not be used for any purpose other than to vote

2
    Capitalized terms used but not otherwise defined herein shall have the meanings set forth in the Plan or the
    Disclosure Statement, as applicable.
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to accept or reject the Plan. If you believe you have received this Master Ballot in error,
please contact the Solicitation Agent immediately at the address, telephone number, or
email address set forth above.

        You are receiving along with this Master Ballot, (i) a cover letter describing the contents
of the Solicitation Package and providing instructions to obtain access electronically, free of
charge, to the Plan, Disclosure Statement and Disclosure Statement Order, including the
Solicitation Procedures and other exhibits, at the Debtors’ restructuring website (electronic
access described above), and instructions for obtaining (free of charge) additional copies of the
materials provided in electronic format by contacting the Solicitation Agent, and urging the
Holders of Claims and Interests in each of the Voting Classes to vote to accept the Plan; (ii) the
Notice of (I) Approval of Disclosure Statement, (II) Establishing Voting Record Date, (III)
Hearing on Confirmation of the Proposed Plan, (IV) Procedures for Objecting to the
Confirmation of the Proposed Plan, and (V) Procedures and Deadline for Voting on the
Proposed Plan; and (iii) instructions that will direct the user to the solicitation section of the
Debtors’ restructuring website, where all of the materials contained in the Solicitation Packages
are located, including the Disclosure Statement and all filed exhibits thereto, including the Plan,
and the Disclosure Statement Order and all exhibits thereto.

        If the Plan is confirmed by the Bankruptcy Court, it will be binding on the
Beneficial Holders whether or not the Beneficial Holders vote or if the Beneficial Holders
vote to reject the Plan. To have the Beneficial Holders’ votes counted, you must complete and
return this Master Ballot to the Solicitation Agent by the Voting Deadline.

       As a Holder of an impaired Claim or Interest under the Plan, if a Beneficial Holder
vote to accept the Plan, the Beneficial Holder consents to providing the releases contained
in Article VIII.D of the Plan. As set forth below, if the Beneficial Holder rejects the Plan
and affirmatively opt in to the release provision of the Plan by checking the applicable box
on your Ballot below, the Beneficial Holder will be deemed to consent to providing the
releases contained in Article VIII.D of the Plan. The Beneficial Holder will only be
provided with the option to opt in to the releases in Article VIII.D if such Beneficial Holder
votes to reject the Plan. For the avoidance of any doubt, if the Beneficial Holder votes to
accept the Plan such Beneficial Holder will be automatically agreeing to consent to the
releases contained in Article VIII.D, the Beneficial Holder will not be provided with a
separate option to opt in or out of such releases, and the opt-in option on the Ballot will not
be applicable to the Beneficial Holder. If a Beneficial Holder does not return the ballot or
abstain from voting, such Beneficial Holder will not be bound by the releases contained in
Article VIII.D of the Plan. Please be advised that the Plan also contains certain other
release, injunction and exculpation provisions. If the Plan is confirmed by the Bankruptcy
Court, these sections will be binding on the Beneficial Holder whether or not the Beneficial
Holder decides to opt in to the releases in Article VIII.D of the Plan. For a full description
of these provisions, see Article IV.H of the Disclosure Statement and Article VIII of the
Plan.

      Beneficial Holders should review the Disclosure Statement and the Plan before they
complete their Beneficial Holder Ballot as the rights of Beneficial Holders may be affected

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thereunder. Beneficial Holders may wish to seek legal advice concerning the Plan and the
Plan’s classification and treatment of the Common Stock Interests. The Common Stock
Interests have been placed in Class 7 under the Plan.

        If the Solicitation Agent does not receive this Master Ballot on or before the Voting
Deadline, which is December 12, 2023 at 5:00 p.m. (prevailing Eastern Time), and if the
Voting Deadline is not extended, the vote included in this Master Ballot will not count. You
may submit the Master Ballot by (1) electronic mail, (2) mail, (3) overnight delivery, or
(4) personal delivery, so that it is actually received, in each case, by the Solicitation Agent no
later than the Voting Deadline. Specifically, each Master Ballot must be returned to the
following address:

           If by Electronic Mail:                If by standard or overnight mail or personal
                                                                   delivery:
       lordstownballots@kccllc.com
                                                          Lordstown Processing Center
                                                     c/o Kurtzman Carson Consultants LLC
                                                    222 N. Pacific Coast Highway, Suite 300
                                                             El Segundo, CA 90245


     THE DEBTORS AND THE SOLICITATION AGENT ARE NOT AUTHORIZED
TO PROVIDE, AND WILL NOT PROVIDE, LEGAL ADVICE.




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                                      MASTER BALLOT

PLEASE READ THE ATTACHED VOTING INFORMATION AND INSTRUCTIONS
BEFORE COMPLETING THIS MASTER BALLOT.

Item 1. Certification of Authority to Vote.

       The undersigned certifies that, as of the Voting Record Date, the undersigned (please
check the applicable box):

               is a broker, bank, or other intermediary for the Beneficial Holders of the
               aggregate amount of the Common Stock Interests listed in Item 2 below, and is
               the record holder of such bonds; or

               is acting under a power of attorney and/or agency (a copy of which will be
               provided upon request) granted by a broker, bank, or other intermediary that is the
               registered Holder of the aggregate amount of the Class 7 Common Stock Interests
               listed in Item 2 below; or

               has been granted a proxy (an original of which is attached hereto) from a broker,
               bank, or other intermediary, or a beneficial owner, that is the registered Holder of
               the aggregate amount of the Class 7 Common Stock Interests listed in Item 2
               below, and has full power and authority to vote to accept or reject the Plan on
               behalf of the Beneficial Holders of the Class 7 Common Stock Interests described
               in Item 2.

Item 2. Class 7 Common Stock Interests Vote On Plan.

        The undersigned transmits the following votes of Beneficial Holders of Class 7 Common
Stock Interests and certifies that the following Beneficial Holders of such Interests, as identified
by their respective customer account numbers set forth below, are Beneficial Holders of such
securities as of the Voting Record Date and have delivered to the undersigned, as Nominee,
Ballots casting such votes.

        Indicate in the appropriate column below the aggregate amount voted for each account or
attach such information to this Master Ballot in the form of the following summary sheet exhibit.
Please note that each Beneficial Holder must vote all such Beneficial Holder’s Class 7 Common
Stock Interests to accept or reject the Plan and may not split such vote. Any Ballot executed by
the Beneficial Holder that does not indicate an acceptance or rejection of the Plan or that
indicates both an acceptance and a rejection of the Plan will not be counted as a vote on the Plan
(Please use additional sheets in the format below as necessary).




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                                                    Item 1 Beneficial Holder Ballot

Your Customer     Amount of        Indicate the vote cast by the Beneficial       Opt In to the
Account           Common Stock     Holder by placing an “X” in the                Third Party
Number for        Interests Held   appropriate column below                       Release and
Each Beneficial   as of Voting                                                    Release Such
Holder of         Record Date      Accept the         Reject the                  Holder’s
Voting Class 7                     Plan               Plan                        Claims in
Common Stock                                                                      Accordance
Interests                          (By voting to                                  with Article
                                   accept the                                     VIII.D of the
                                   Plan the                                       Plan by
                                   Beneficial                                     Holders of
                                   Holder is                                      Common
                                   consenting to                                  Stock
                                   being a                                        Interests
                                   Releasing                                      (Only if
                                   Party with                                     voting to
                                   respect to the                                 Reject the
                                   Third Party                                    Plan)
                                   Release
                                   contained in
                                   the Plan)


1.

2.

Totals



Item 3. Releases by Holders of Claims and Interests.

            NOTICE REGARDING CERTAIN RELEASES, EXCULPATION
                 AND INJUNCTION PROVISIONS IN THE PLAN

        If a Beneficial Holder votes to reject the Plan AND opts in to the Releases by
Holders of Claims and Interests as set forth below, such Beneficial Holder will be bound by
the releases in Article VIII.D of the Plan, which provide as follows:




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D.       Releases by Holders of Claims and Interests

        As of the Effective Date, for good and valuable consideration, the adequacy of which
is hereby confirmed, each Releasing Party 3 shall be deemed to have conclusively,
absolutely, unconditionally, irrevocably, and forever released, waived, and discharged each
Debtor, Post-Effective Date Debtor, and other Released Party 4 from any and all Claims,
obligations, rights, suits, damages, Causes of Action, remedies, and liabilities whatsoever
(in each case, whether prepetition or postpetition), including any derivative Claims
asserted or that may be asserted on behalf of the Debtors or their Estates, that such Entity
would have been legally entitled to assert in their own right (whether individually or
collectively) or on behalf of the Holder of any Claim or Interest, whether known or
unknown, foreseen or unforeseen, existing or hereinafter arising, in law, equity, or
otherwise, based on or relating to, or in any manner arising from, in whole or in part, the
Debtors or the conduct of their business (in each case, whether prepetition or postpetition),
the formulation, preparation, dissemination, or negotiation of the Plan, the Disclosure
Statement, any contract, instrument, release, or other agreement or document created or
entered into in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases,
the pursuit of Confirmation, the pursuit of Consummation, the administration and
implementation of the Plan, including the distribution of property under the Plan, or any
other related agreement, or upon any other act or omission, transaction, agreement, event,
or other occurrence taking place on or before the Effective Date (in each case, whether
prepetition or postpetition) related or relating to the foregoing. Without limiting the
generality of the foregoing, and subject to the paragraph directly below, pursuant to the

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  “Releasing Party” means each of the following in their capacity as such: (i) all Holders of Claims or Interests that
vote to accept the Plan; (ii) all Holders of Claims or Interests that are entitled to vote on the Plan who vote to reject
the Plan and opt in to the third party releases provided for in Article VIII.D by checking the box on the applicable
Ballot or form indicating that they opt in to granting such releases in the Plan submitted on or before the Voting
Deadline; and (iii) with respect to each of the foregoing Entities in clauses (i) and (ii), such Entity and its current and
former Affiliates, and such Entities’ and their current and former Affiliates’ current and former directors, managers,
officers, predecessors, successors, and assigns, subsidiaries, and each of their respective current and former equity
holders, officers, directors, managers, principals, members, employees, agents, advisory board members, financial
advisors, partners, attorneys, accountants, managed accounts or funds, management companies, fund advisors,
investment bankers, consultants, representatives, and other professionals, each in its capacity as such; provided,
however, that the Entities identified in part (iii) shall be Releasing Parties only to the extent the corresponding
Entities in parts (i) and (ii) are legally able to bind such Entities in part (iii) to the releases contained in the Plan
under applicable law; provided, further, that, subject to the terms of Article VIII.D, the Putative Class Action
Representatives shall not be deemed to be Releasing Parties.
4
  “Released Party” means each of the following in their capacity as such: (i) the Debtors; (ii) the Post-Effective Date
Debtors; (iii) each of the Debtors’ Estates; (iv) the UCC, (v) each of the UCC Members, solely in its capacity as a
UCC Member; (vi) the EC; (vii) each of the EC Members, solely in its capacity as an EC Member; and (viii) with
respect to each of the foregoing Entities in clauses (i) through (vii), their respective current and former officers,
directors, employees, attorneys, accountants, investment bankers, consultants and other professionals other than
Excluded Parties, each in its capacity as such; provided that, notwithstanding anything in the foregoing, any Person
or Entity that is an Excluded Party shall not be a Released Party; provided further that, notwithstanding anything in
the foregoing, any Person or Entity that is entitled to vote on the Plan but does not vote to accept the Plan or
otherwise opt in to the releases shall not be a Released Party.

“Excluded Parties” means Foxconn and the Former Directors and Officers.
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Releases set forth in this Article VIII.D, each Releasing Party shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged each Released Party from any Claims related to or asserted in the Putative
Class Actions (which actions include, for the avoidance of any doubt, the Ohio Securities
Class Action, the Delaware Shareholder Class Action, and the Post-Petition Securities
Action). Notwithstanding anything to the contrary in the foregoing, the releases set forth in
this Article VIII.D shall not be construed as (i) releasing any Released Party from Claims
or Causes of Action arising from an act or omission that is judicially determined by a Final
Order to have constituted actual fraud, willful misconduct, or gross negligence,
(ii) releasing any timely filed Proof of Claim (as may be validly amended under the Plan or
as maybe permitted by the Bankruptcy Code and Bankruptcy Rules) or any post-Effective
Date obligations of or under (A) any party or Entity under the Plan, (B) any Executory
Contract or Unexpired Lease to the extent such Executory Contract or Unexpired Lease
has been assumed by the Debtors pursuant to Final Order, or (C) any document,
instrument, or agreement executed to implement the Plan, or (iii) releasing any rights to
distributions required to be paid or delivered pursuant to the Plan or the Confirmation
Order.

Notwithstanding anything to the contrary in the preceding paragraph, the Putative Class
Action Representatives shall not be deemed to constitute Releasing Parties; provided, that
the Debtors do not concede that the certification of a class is appropriate in any of the
Putative Class Actions and the exclusion of the Putative Class Action Representatives from
the releases set forth herein shall not constitute an admission by any Person or Entity,
including the Debtors, that a class is appropriate in any of the Putative Class Actions;
provided further, that the Debtors do not concede that the exclusion of the Putative Class
Action Representatives from the releases set forth herein in any way binds the other
members of any putative class or in any way affects the decision of any such putative class
members to be a Releasing Party and grant the releases set forth herein. All of the rights of
the Debtors, the Putative Class Action Representatives and any other party in connection
with the potential certification of any putative class and/or the granting of releases are
expressly reserved in all respects. If the exclusion of the Putative Class Action
Representative from the releases set forth herein does not bind other class members (as is
the Debtors’ contention), each such class member that is a Releasing Party under the terms
of the Plan shall be deemed to have conclusively, absolutely, unconditionally, irrevocably,
and forever released, waived, and discharged each Released Party from any Claims related
to or asserted in the Putative Class Actions (which actions include, for the avoidance of any
doubt, the Ohio Securities Class Action, the Delaware Shareholder Class Action, and the
Post-Petition Securities Action).

Additionally, notwithstanding anything to the contrary in the Plan or the Confirmation
Order, nothing herein or therein does, shall, or may be construed to release, the Debtors or
bar the assertion of claims against them as nominal defendants in the Post-Petition
Securities Action for purposes of preserving and enforcing rights to coverage under and
recovery of the proceeds of the D&O Liability Insurance Policies



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Article VIII of the Plan also contains the following provisions:

C.       Releases by the Debtors

        Pursuant to section 1123(b) of the Bankruptcy Code, for good and valuable
consideration, the adequacy of which is hereby confirmed, as of the Effective Date, the
Debtors and their Estates, the Post-Effective Date Debtors and each of their respective
current and former Affiliates (with respect to non-Debtors, to the extent permitted by
applicable law), on behalf of themselves and their respective Estates, including, without
limitation, any successor to the Debtors or any Estate representative appointed or selected
pursuant to section 1123(b)(3) of the Bankruptcy Code, shall be deemed to have
conclusively, absolutely, unconditionally, irrevocably, and forever released, waived, and
discharged the Released Parties from any and all Claims, Interests, obligations, rights,
suits, damages, Causes of Action, remedies, and liabilities whatsoever, in each case,
whether prepetition or postpetition (including any derivative Claims asserted or that may
be asserted on behalf of the Debtors or their Estates), whether known or unknown,
foreseen or unforeseen, existing or hereinafter arising, in law, equity, or otherwise, based
on or relating to, or in any manner arising from, in whole or in part, the Debtors or the
conduct of their business (in each case, whether prepetition or postpetition), the
formulation, preparation, dissemination, negotiation of the Plan, the Disclosure Statement,
any contract, instrument, release, or other agreement or document created or entered into
in connection with the Plan, the Disclosure Statement, the Chapter 11 Cases, the pursuit of
Confirmation, the pursuit of Consummation, the administration and implementation of the
Plan, including the distribution of property under the Plan, or any other related
agreement, or upon any other act or omission, transaction, agreement, event, or other
occurrence taking place on or before the Effective Date (in each case, whether prepetition
or postpetition) related or relating to the foregoing. Notwithstanding anything to the
contrary in the foregoing, the releases set forth in this Article VIII.C shall not release
(i) any Released Party from Claims or Causes of Action arising from an act or omission
that is judicially determined by a Final Order to have constituted actual fraud, willful
misconduct, or gross negligence, or (ii) any post-Effective Date obligations of any party or
Entity under the Plan or any document, instrument, or agreement executed to implement
the Plan.

     E. Exculpation

       Except as otherwise specifically provided in the Plan, no Exculpated Party 5 shall
have or incur liability for, and each Exculpated Party is hereby exculpated from, any
Cause of Action for any claim related to any act or omission from the Petition Date to the
Effective Date in connection with, relating to, or arising out of, the Chapter 11 Cases, in
5
  “Exculpated Parties” means each of the following in their capacity as such: (i) the Debtors; (ii) the Chapter 11
Directors and Officers, (iii) agents, members of management and other employees of the Debtors, in each case who
are or were acting in such capacity on or after the Petition Date; (iv) the UCC and the UCC Members; (v) the EC
and the EC Members; and (vi) all predecessors, successors and assigns, subsidiaries, affiliates, members, partners,
officers, directors, agents, attorneys, advisors, accountants, investment bankers, consultants, and other professionals,
to the extent such parties are or were acting in such capacity of any of the Persons identified in (i), (ii), (iii) (iv), and
(v) above on or after the Petition Date.
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whole or in part, the Debtors, the formulation, preparation, dissemination, negotiation, of
the Plan, the Disclosure Statement, any contract, instrument, release, or other agreement
or document created or entered into in connection with the Plan, the Disclosure Statement,
the filing of the Chapter 11 Cases, the pursuit of Confirmation, the pursuit of
Consummation, the administration and implementation of the Plan or the distribution of
Cash under the Plan, or any other related agreement, except for Claims or Causes of
Action arising from an act or omission that is judicially determined in a Final Order to
have constituted actual fraud, willful misconduct, or gross negligence, but in all respects,
such Exculpated Parties shall be entitled to the fullest extent permitted by law to
reasonably rely upon the advice of counsel with respect to their duties and responsibilities.
The Exculpated Parties have, and upon Consummation of the Plan, shall be deemed to
have, participated in good faith and in compliance with the applicable laws with regard to
the solicitation of, and distribution of, consideration pursuant to the Plan and, therefore,
are not, and on account of such distributions shall not be, liable at any time for the
violation of any applicable law, rule, or regulation governing the solicitation of acceptances
or rejections of the Plan or such distributions made pursuant to the Plan.

   F. Injunction

      EXCEPT AS OTHERWISE EXPRESSLY PROVIDED IN THE PLAN OR FOR
DISTRIBUTIONS REQUIRED TO BE PAID OR DELIVERED PURSUANT TO THE
PLAN OR THE CONFIRMATION ORDER, ALL ENTITIES THAT HAVE HELD,
HOLD, OR MAY HOLD CLAIMS OR INTERESTS THAT HAVE (1) BEEN RELEASED
PURSUANT TO ARTICLE VIII.C OR ARTICLE VIII.D OF THE PLAN, (2) SHALL BE
DISCHARGED PURSUANT TO ARTICLE VIII.D OF THE PLAN, OR (3) ARE
SUBJECT TO EXCULPATION PURSUANT TO ARTICLE VIII.E OF THE PLAN, ARE
PERMANENTLY ENJOINED, FROM AND AFTER THE EFFECTIVE DATE, FROM
TAKING ANY OF THE FOLLOWING ACTIONS AGAINST, AS APPLICABLE, THE
DEBTORS, THE REORGANIZED DEBTORS, THE RELEASED PARTIES (TO THE
EXTENT OF THE RELEASES PROVIDED PURSUANT TO ARTICLE XIII.D WITH
RESPECT TO THE RELEASED PARTIES), OR THE EXCULPATED PARTIES (TO
THE EXTENT OF THE EXCULPATION PROVIDED PURSUANT TO ARTICLE VIII.E
OF THE PLAN WITH RESPECT TO THE EXCULPATED PARTIES):
(I) COMMENCING OR CONTINUING IN ANY MANNER ANY ACTION OR OTHER
PROCEEDING OF ANY KIND ON ACCOUNT OF OR IN CONNECTION WITH OR
WITH RESPECT TO ANY SUCH CLAIMS OR INTERESTS; (II) ENFORCING,
ATTACHING, COLLECTING, OR RECOVERING BY ANY MANNER OR MEANS
ANY JUDGMENT, AWARD, DECREE, OR ORDER AGAINST SUCH ENTITIES ON
ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH
CLAIMS OR INTERESTS; (III) CREATING, PERFECTING, OR ENFORCING ANY
LIEN OR ENCUMBRANCE OF ANY KIND AGAINST SUCH ENTITIES OR THE
PROPERTY OR THE ESTATES OF SUCH ENTITIES ON ACCOUNT OF OR IN
CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS; (IV) EXCEPT TO THE EXTENT REQUIRED TO RENDER HOLDERS
OF CLASS 5 UNIMPAIRED, ASSERTING ANY RIGHT OF SETOFF, SUBROGATION,
OR RECOUPMENT OF ANY KIND AGAINST ANY OBLIGATION DUE FROM SUCH
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ENTITIES OR AGAINST THE PROPERTY OF SUCH ENTITIES ON ACCOUNT OF
OR IN CONNECTION WITH OR WITH RESPECT TO ANY SUCH CLAIMS OR
INTERESTS UNLESS SUCH ENTITY HAS TIMELY ASSERTED SUCH SETOFF
RIGHT IN A DOCUMENT (WHICH MAY BE A PROOF OF CLAIM) FILED WITH
THE BANKRUPTCY COURT IN ACCORDANCE WITH THE TERMS OF THE PLAN
EXPLICITLY PRESERVING SUCH SETOFF, AND NOTWITHSTANDING AN
INDICATION OF A CLAIM OR INTEREST OR OTHERWISE THAT SUCH ENTITY
ASSERTS, HAS, OR INTENDS TO PRESERVE ANY RIGHT OF SETOFF PURSUANT
TO APPLICABLE LAW OR OTHERWISE; AND (V) COMMENCING OR
CONTINUING IN ANY MANNER ANY ACTION OR OTHER PROCEEDING OF ANY
KIND ON ACCOUNT OF OR IN CONNECTION WITH OR WITH RESPECT TO ANY
SUCH CLAIMS OR INTERESTS RELEASED OR SETTLED PURSUANT TO THE
PLAN.


     FOR THE AVOIDANCE OF DOUBT, NOTHING IN ARTICLE VIII.F OF THE
PLAN SHALL AFFECT ANY RIGHT OF FOXCONN TO SETOFF OR RECOUP THE
AMOUNT OF ANY ALLOWED CLAIM OR THE AMOUNT OF ANY DISTRIBUTIONS
TO WHICH THEY ARE ENTITLED ON ACCOUNT OF ALLOWED FOXCONN
PREFERRED STOCK INTERESTS, IF ANY, AND ALL SUCH RIGHTS SHALL BE
FULLY PRESERVED TO THE EXTENT AVAILABLE UNDER APPLICABLE LAW
(AND ANY RIGHT OF THE DEBTORS AND THE POST-REORGANIZED DEBTORS
WITH RESPECT TO THE FOREGOING SHALL ALSO BE PRESERVED).


IF THE PLAN IS CONFIRMED BY THE BANKRUPTCY COURT, THE DEBTOR
RELEASES, EXCULPATION AND INJUNCTION PROVISIONS SET FORTH IN ARTICLE
VIII.C, VIII.E AND VIII.F OF THE PLAN, RESPECTIVELY, WILL BE BINDING ON THE
BENEFICIAL HOLDERS WHETHER OR NOT THEY ELECT TO OPT IN TO THE
RELEASES IN ARTICLE VIII.D OF THE PLAN.

Item 4. Certification as to Transcription of Information from Item 3 of the Ballot as to
Class 7 Common Stock Interests (the “Beneficial Holder Ballot”).

        The undersigned certifies that it has transcribed in the following table the information, if
any, provided by the Beneficial Holders in Item 3 of each of the Beneficial Holder Ballot,
identifying any Class 7 Common Stock Interests for which such Beneficial Holders have
submitted other Ballots other than to the undersigned:




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Your Customer           Transcribe from Item 3 of the Beneficial Holder Ballot
    Account
Number and/or
Customer Name    Customer
   for Each       Account
                                                   Amount of Other Shares of Other
   Beneficial    Number of
                                                   Class 7 Common          Class 7
  Holder who   Other Class 7 Name of Owner
                                                    Stock Interests    Common Stock
completed Item    Common
                                                        Voted          Interests Voted
    3 of the   Stock Interests
   Beneficial      Voted
 Holder Ballot

1.
2.
3.
4.
5.
6.

Item 5. Certifications.

       By signing this Master Ballot, the undersigned certifies to the Bankruptcy Court and the
Debtors that:

       (a)      it has received a copy of the Disclosure Statement, the Plan, the Master Ballots,
                and the remainder of the Solicitation Package and has delivered the same to the
                Beneficial Holders of the Class 7 Common Stock Interests listed in Item 2 of this
                Master Ballot above;

       (b)      it has received a completed and signed Beneficial Holder Ballot (or other accepted
                and customary method of communicating a vote) from each Beneficial Holder
                listed in Item 2 above;

       (c)      it is the registered Holder of all the Class 7 Common Stock Interests in Item 2
                above being voted, or it has been authorized by each Beneficial Holder of such
                Interests to vote on the Plan;

       (d)      it has properly disclosed: (i) the number of Beneficial Holders of Common Stock
                Interests who completed the Beneficial Holder Ballots; (ii) the respective amounts
                of the Common Stock Interests owned, as the case may be, by each Beneficial
                Holder of such Interests who completed a Beneficial Holder Ballot; (iii) each such
                Beneficial Holder’s respective vote concerning the Plan and Releases by Holders
                of Claims and Interests; (iv) each such Beneficial Holder’s certification as to other
                Claims or Interests voted in the same Class; and (v) the customer account or other
                identification number for each such Class 7 Common Stock Interests;


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         (e)      each such Beneficial Holder has certified to the undersigned that it is eligible to
                  vote on the Plan or Releases by Holders of Claims and Interests; and it will
                  maintain Beneficial Holder Ballots and evidence of separate transactions returned
                  by Beneficial Holders (whether properly completed or defective) for at least one
                  year after the Effective Date and disclose all such information to the Bankruptcy
                  Court, the Debtors, or the Reorganized Debtors, as the case may be, if so ordered;

         (f)      it acknowledges and understands that (a) if no Holders of Claims or Interests
                  eligible to vote in a particular Class vote to accept or reject the Plan, the Plan shall
                  be deemed accepted by the Holders of such Claims or Interests in such Class; and
                  (b) any Class of Claims or Interests that does not have a Holder of an Allowed
                  Claim or Interest or a Claim temporarily allowed by the Court as of the date of the
                  Confirmation Hearing shall be deemed eliminated from the Plan for purposes of
                  voting to accept or reject the Plan and for purposes of determining acceptance or
                  rejection of the Plan by such Class pursuant to section 1129(a)(8) of the
                  Bankruptcy Code; and

         (g)      it acknowledges and agrees that the Debtors may make conforming changes to the
                  Plan to the extent provided by Bankruptcy Rule 3019 as may be reasonably
                  necessary; provided, that the Debtors will not re-solicit acceptances or rejections
                  of the Plan in the event of such conforming changes.

                                   [SIGNATURE PAGE FOLLOWS]

Name of Nominee:

                                                          (Print or Type)



Participant Number:



Name of Proxy Holder or Agent for Nominee (if applicable):



                                                          (Print or Type)



Signature:

Name of Signatory:

Title:

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Address




Date Completed:

Email Address:



PLEASE COMPLETE, SIGN, AND DATE THIS MASTER BALLOT AND RETURN IT
                          PROMPTLY TO:

               If by First Class Mail, personal Delivery or Overnight delivery:

                                  Lordstown Processing Center
                             c/o Kurtzman Carson Consultants LLC
                            222 N. Pacific Coast Highway, Suite 300
                                     El Segundo, CA 90245

                                     If by Electronic Mail:

                                  lordstownballots@kccllc.com

IF THIS MASTER BALLOT IS NOT RECEIVED BY THE SOLICITATION AGENT ON
        OR BEFORE DECEMBER 12, 2023 AT 5:00 P.M. (EASTERN TIME),

                          YOUR VOTE WILL NOT BE COUNTED.



         If you have questions about this Ballot, or if you did not receive access to a copy of the
Plan or any related materials, please contact the Solicitation Agent by (a) calling the Debtors’
toll-free restructuring hotline at (877)         499-4509 (U.S./Canada) or (917) 281-4800
(international);      (b) visiting     the       Debtors’        restructuring      website      at
https://www.kccllc.net/lordstown; (c) writing to Lordstown Processing Center, c/o Kurtzman
Carson Consultants LLC,                222 N. Pacific Coast Highway, Suite 300,
El Segundo, CA 90245 or (d) emailing lordstownballots@kccllc.net (with ‘Lordstown’ in the
subject line).

     THE SOLICITATION AGENT IS NOT AUTHORIZED TO, AND WILL NOT,
PROVIDE LEGAL ADVICE.

       Any admission of Claims and Interests for purposes of voting on the Plan is not an
admission of liability on the part of the Debtors or any other party for payment purposes.

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              INSTRUCTIONS FOR COMPLETING THE MASTER BALLOT

         To properly complete the Master Ballot, you must follow the procedures described
below, which explain each of the items contained on the Master Ballot. If you have any
questions, please contact the Solicitation Agent at the phone number or email provided above or
visit https://www.kccllc.net/lordstown.

       The Bankruptcy Court may confirm the Plan and thereby bind the Holders Common
Stock Interests by the terms of the Plan. Please review the Disclosure Statement for more
information.

1.     Submitting The Master Ballot Via Electronic Mail or Mail

       You must return the Master Ballot, together with the summary sheet exhibit attached to
the Master Ballot, in either the enclosed envelope or by electronic mail:

            If by Electronic Mail:              If by standard or overnight mail or personal
                                                                  delivery:
       lordstownballots@kccllc.com
                                                          Lordstown Processing Center
                                                     c/o Kurtzman Carson Consultants LLC
                                                    222 N. Pacific Coast Highway, Suite 300
                                                             El Segundo, CA 90245


       Master Ballots received via facsimile or other methods not otherwise indicated
herein will not be counted. The Solicitation Agent will tabulate all properly completed
Master Ballots received on or before the Voting Deadline.

2.     To fill out the Master Ballot, you must complete the following:

       a.      Item 1. (Certification of Authority to Vote). You should check the box
               applicable to you regarding the certification of authority to vote.

       b.      As a Nominee of a Beneficial Holder, you should distribute a Solicitation Package
               to each Beneficial Holder that holds Common Stock Interests within five business
               days of receipt of such materials from the Solicitation Agent in one of the
               following two ways (as selected by you):

               1.     obtaining the votes of Beneficial Holders of such Common Stock Interests
                      by (i) immediately distributing the Solicitation Package, including Ballots,
                      it receives from the Solicitation Agent to all such Beneficial Holders, (ii)
                      promptly collecting Ballots from such Beneficial Holders that cast votes
                      on the Plan, (iii) compiling and validating the votes and other relevant
                      information of all such Beneficial Holders on the Master Ballot, and (iv)
                      transmitting the Master Ballot to the Solicitation Agent by the Voting
                      Deadline; or

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            2.     distributing pre-validated Ballots pursuant to the following procedures: (i)
                   the Nominee shall forward to each Beneficial Holder as of the Voting
                   Record Date the Solicitation Package, an individual Ballot that has been
                   pre-validated, postage prepaid return envelope as indicated in sub-
                   paragraph (ii); (ii) to pre-validate a Ballot, the Nominee should complete
                   the first item and execute the Ballot and indicate on the Ballot the name of
                   the Nominee and DTC, Clearstream or Euroclear participant number, as
                   applicable the amount of securities held by the Nominee for the Beneficial
                   Holder, and the account number for the account in which such securities
                   are held by the Nominee; and (iii) the Beneficial Holder shall complete
                   and return the pre-validated Ballot to the Solicitation Agent by the Voting
                   Deadline.

    c.      Item 2. (Common Stock Interests Voted on Plan). You must prepare a
            summary sheet exhibit, attached to the Master Ballot, by listing the customer
            account number in respect of each Beneficial Holder of Class 7 Common Stock
            Interests represented by you, the amount, as of the Voting Record Date, of each
            such applicable Interest, whether such Holder votes to ACCEPT (votes in favor
            of), REJECT (votes against) the Plan or does not vote on the Plan and, if such
            Holder votes to reject the Plan, whether such Holder opts in to the releases
            contained in Article VIII.D of the Plan. The summary sheet exhibit, in Microsoft
            Excel or comparable application, must be included with (if submission is via
            electronic mail), or attached, in the form of a USB flash drive, to the Master
            Ballot, and the completed Master Ballot and summary sheet exhibit must be
            returned to the Solicitation Agent in accordance with the Solicitation Procedures.
            The summary sheet exhibit must be in the format as provided in the Master
            Ballot.

    d.      Item 3. (Releases by Holders of Claims and Interests). Pursuant to Article
            VIII.D of the Plan, the Debtors seek approval of the release provisions set forth in
            Article VIII.D of the Plan and provided above. Class 7 Common Stock Interests
            that vote to reject the Plan may opt in to this releases by checking the box in Item
            2 on their Beneficial Holder Ballots.

IF THE PLAN BECOMES EFFECTIVE, AS HOLDERS OF COMMON STOCK
INTERESTS UNDER THE PLAN, IF THE BENEFICIAL HOLDERS VOTE TO
ACCEPT THE PLAN, THE BENEFICIAL HOLDERS ARE DEEMED TO PROVIDE
THE RELEASES CONTAINED IN ARTICLE VIII.D OF THE PLAN. IF THE
BENEFICIAL HOLDERS VOTE TO REJECT THE PLAN, THE BENEFICIAL
HOLDERS MAY OPT IN TO THE RELEASES ON THE SUMMARY SHEET EXHIBIT
ATTACHED TO THE MASTER BALLOT. IF A BENEFICIAL HOLDER DOES NOT
RETURN THE BALLOT OR ABSTAINS FROM VOTING ON THE PLAN, SUCH
BENEFICIAL HOLDER WILL NOT BE BOUND BY THE RELEASES.




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     e.      Item 4. (Transcription of Information from Item 3 of the Beneficial Holder
             Ballots). You should certify and transcribe the information in the table as
             provided in the Master Ballot, if any, provided by the Beneficial Holders in Item 3
             of the Beneficial Holder Ballot.

     f.      Item 5. (Certifications, Acknowledgement, Signature, and Date). Each
             Nominee must sign the Master Ballot. If the Master Ballot is not signed, the vote
             shown on the Master Ballot will not be counted.The Nominee must certify certain
             information on the Master Ballot. Please read the certifications set forth on the
             Master Ballot and ensure that the information on the Master Ballot meets the
             requirements of those certifications.

ADDITIONAL INSTRUCTIONS FOR RELATED TO MASTER BALLOT:

1.   Any Nominee of an applicable Class 7 Common Stock Interests holding such securities
     both as record holder and Beneficial Holder in its own name may vote on the Plan by
     completing a Ballot or a Master Ballot and returning it directly to the Solicitation Agent
     on or before the Voting Deadline.

2.   Any Indenture Trustee appointed in respect of an applicable Class 7 Common Stock
     Interests (unless otherwise empowered to do so under the respective indenture) will not
     be entitled to vote on behalf of the Beneficial Holder; rather, each Beneficial Holder must
     vote his or her own Claim(s) or Interest(s) in the manner set forth in the Solicitation
     Procedures.

3.   Any Ballot returned to you by a Beneficial Holder of Common Stock Interests will not be
     counted for purposes of accepting or rejecting the Plan until you properly complete and
     deliver to the Solicitation Agent by the Voting Deadline a Master Ballot that reflects the
     vote of such Beneficial Holders, or otherwise validates the Ballot in a manner acceptable
     to the Solicitation Agent.

4.   You shall retain all Ballots returned by Beneficial Holders for a period of one year after
     the effective date of the Plan, or, in the case of pre-validated Ballots, a list of Beneficial
     Holders to whom pre-validated Ballots (if any) were sent for a period of at least one year
     after the Voting Deadline.

5.   If a Beneficial Holder of Equity Inbterests holds securities through more than one
     Nominee or through multiple accounts, such Beneficial Holder may receive more than
     one Ballot, and each such Beneficial Holder should execute a separate Ballot for each
     block of securities that it holds through any Nominee and must return each such Ballot to
     the appropriate Nominee.

6.   If a Beneficial Holder of Common Stock Interests holds a portion of its securities through
     a Nominee or Nominees and another portion in its own name as the record Beneficial
     Holder, such Beneficial Holder should follow the Solicitation Procedures to vote the
     portion held in its own name and to vote the portion held by the Nominee(s).

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7.   The following Ballots shall not be counted:

     a.      any Ballot submitted by a person who does not hold, or represent a person that
             holds, a Claim or Interest in the applicable Voting Class as of the Voting Record
             Date;

     b.      any Ballot received after the Voting Deadline unless the Debtors have granted an
             extension in writing (including electronic mail) with respect to such Ballot. The
             Holder of a Claim or Interest may choose the method of delivery of its Ballot to
             the Solicitation Agent at its own risk. Delivery of the Ballot shall be deemed
             made only when the original properly executed Ballot is actually received by the
             Solicitation Agent;

     c.      any Ballot that is illegible or contains insufficient information to permit the
             identification of the claimant;

     d.      any Ballot that is submitted in an inappropriate form that is not the appropriate
             Ballot for such Claim or Interest;

     e.      any Ballot sent to a person other than the Solicitation Agent;

     f.      any Ballot that is unsigned; provided, however, for the avoidance of doubt, a
             Ballot submitted via electronic mail shall be deemed to contain an original
             signature;

     g.      a Ballot without a vote on the Plan or in which the claimant has voted to both
             accept and reject the Plan; or

     h.      any Ballot that is not completed.

8.   A voting creditor may withdraw a valid Ballot by delivering a written notice of
     withdrawal to the Solicitation Agent before the Voting Deadline – the withdrawal must
     be signed by the party who signed the Ballot – and the Debtors reserve the right to
     contest any such withdrawals. After the Voting Deadline, no Ballot may be withdrawn or
     modified without the prior written consent of the Debtors. Delivery of Ballots that are
     late or (in whole or in material part) illegible, unidentifiable, lacking signatures or lacking
     necessary information, received via facsimile or damaged (the “Irregular Ballot”) shall
     not be deemed to have been made until such defect or irregularity has been cured or
     waived by the Debtors, provided, that, neither the Debtors nor the Solicitation Agent are
     obligated to advise Holders of any defects or irregularities that prevent the inclusion of
     such Irregular Ballots in the final Plan vote tabulation.

9.   The Nominee must indicate such capacity when signing and, if required or requested by
     the Solicitation Agent, the Debtors, or the Bankruptcy Court, must provide evidence
     satisfactory to the requesting party of the Nominee’s authority to act on behalf of the
     Beneficial Holders of the applicable Common Stock Interests.


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10.   Subject to any contrary order of the Bankruptcy Court, the Debtors further reserve the
      right to waive any defects or irregularities or conditions of delivery as to any particular
      Master Ballot, provided that any such rejections will be documented in the Voting
      Report. Unless waived or as ordered by the Bankruptcy Court, any defects or
      irregularities in connection with deliveries of Master Ballots must be cured prior to the
      Voting Deadline or such Master Ballots will not be counted.

11.   The Solicitation Agent, in its discretion, may contact entities entitled to vote to cure any
      defects in the Master Ballot; provided, however, that the Solicitation Agent is not
      obligated to do so.

12.   Subject to any order of the Bankruptcy Court, the Debtors reserve the right to reject any
      and all Master Ballots not in proper form, the acceptance of which, in the opinion of the
      Debtors, would not be in accordance with the provisions of the Bankruptcy Code or the
      Bankruptcy Rules; provided that any such rejections will be documented in the Voting
      Report.

13.   The Debtors expressly reserve the right to amend the terms of the Plan (subject to
      compliance with section 1127 of the Bankruptcy Code). If the Debtors make material
      changes to the terms of the Plan that adversely change the treatment of any Holder of a
      Claim or Interest, the Debtors shall disseminate additional solicitation materials and
      extend the solicitation period, in each case to the extent required by law or further order
      of the Bankruptcy Court.

14.   Neither the Debtors, nor any other person or entity, shall be under any duty to provide
      notification of defects or irregularities with respect to deliveries of Master Ballots nor
      shall any of them incur any liabilities for failure to provide such notification.

15.   If no valid Ballots or Master Ballots are submitted in a Class, then such Class shall be
      deemed to have voted to accept the Plan.

16.   Subject to Sections IV.D of the Solicitation Procedures, if multiple Ballots are timely
      received from or on behalf of a Holder of a single Claim or Interest, the effective vote
      shall be the last properly executed Ballot timely received by the Solicitation Agent that
      satisfies the voting and tabulation procedures specified in the Solicitation Procedures and
      shall supersede and revoke any prior Ballot received. In the event that multiple Ballots
      on account of the same Claim are received on the same day, they shall not be counted if
      the votes are inconsistent.

17.   In addition to the generally applicable Ballot tabulation procedures set forth in Section
      IV.C of the Solicitation Procedures, the following additional procedures will apply to the
      voting of Claims held by Holders of Common Stock Interests cast through Nominees:

      a.      Votes submitted by a Nominee, whether pursuant to a Master Ballot or pre-
              validated Ballot, will not be counted in excess of the amount held by such
              Nominee as of the Voting Record Date; provided, however, that the Solicitation

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            Agent may adjust such amount to reflect the portion of the relevant Common
            Stock Interests actually voted;

    b.      Beneficial Holders whose votes are reflected on a Master Ballot should not return
            an individual Ballot to the Solicitation Agent. Votes cast by Beneficial Holders
            through Nominees, as reflected on a Master Ballot, shall supersede any vote
            indicated with respect to such Claim on an individual Ballot that is returned to the
            Solicitation Agent by the Beneficial Holder;

    c.      If conflicting votes or “over-votes” are submitted by a Nominee, whether pursuant
            to a Master Ballot or pre-validated Ballot, the Debtors may, but are not required
            to, attempt to reconcile discrepancies with the Nominee. If over-votes on a
            Master Ballot or pre-validated Ballot are not reconciled before the preparation of
            the vote certification, the Debtors will apply the votes to accept and to reject the
            Plan in the same proportion as the votes to accept and reject the Plan submitted on
            the Master Ballot or pre-validated Ballot that contained the over-vote, but only to
            the extent of the Nominee’s position in the Class;

    d.      A single Nominee may complete and deliver to the Solicitation Agent multiple
            Master Ballots. Votes reflected on multiple Master Ballots will be counted,
            except to the extent they are duplicative of other Master Ballots. If a Nominee
            submits multiple Master Ballots with respect to the same Claim before the Voting
            Deadline, the latest properly completed Master Ballot timely received will be
            deemed to reflect that Nominee’s intent and will supersede and revoke any prior
            received Master Ballot. Likewise, if a Beneficial Holder submits more than one
            vote to its Nominee whether via Beneficial Ballot or other acceptable voting
            method; (i) the latest received vote before the submission deadline imposed by the
            Nominee shall be deemed to supersede any prior Beneficial Ballot submitted by
            the Beneficial Holder; and (ii) the Nominee shall complete the Master Ballot
            accordingly; and

    e.      The Debtors will, upon written request, reimburse Nominees for customary
            mailing and handling expenses incurred by them in forwarding the Solicitation
            Package and Ballot to the Beneficial Holders for which they are the Nominee. No
            fees or commissions or other remuneration will be payable to any broker, dealer,
            or other person for soliciting votes from Beneficial Holders with respect to the
            Plan.



NO PERSON HAS BEEN AUTHORIZED TO GIVE ANY INFORMATION OR
ADVICE, OR TO MAKE ANY REPRESENTATION, OTHER THAN WHAT IS
CONTAINED IN THE MATERIALS MAILED WITH THIS BALLOT OR OTHER
MATERIALS AUTHORIZED BY THE BANKRUPTCY COURT.

IF YOU HAVE ANY QUESTIONS REGARDING THE MASTER BALLOT,
RECEIVED A DAMAGED BALLOT OR HAVE LOST YOUR BALLOT, OR NEED
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ADDITIONAL COPIES OF THE BALLOT OR OTHER ENCLOSED MATERIALS,
PLEASE CONTACT THE SOLICITATION AGENT AT:

TELEPHONE: (877) 499-4509 (U.S./CANADA) OR (917) 281-4800 (INTERNATIONAL)

EMAIL: LORDSTOWNBALLOTS@KCCLLC.COM

WEBSITE: HTTPS://WWW.KCCLLC.NET/LORDSTOWN




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